
79 So. 3d 876 (2012)
Kevin Martin WELLS, Appellant,
v.
STATE of Florida, Appellee.
No. 4D10-1227.
District Court of Appeal of Florida, Fourth District.
February 8, 2012.
Carey Haughwout, Public Defender, and Susan D. Cline, Assistant Public Defender, West Palm Beach, for appellant.
No appearance for appellee.
PER CURIAM.
We affirm, but remand to the trial court to enter a written order of violation of probation/community control, including the grounds upon which appellant was found to have violated probation/community control. See Harris v. State, 961 So. 2d 1131 (Fla. 4th DCA 2007).
Affirmed; Remanded.
POLEN, TAYLOR and HAZOURI, JJ., concur.
